Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 1 of 100
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 2 of 100
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 3 of 100
                  Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 4 of 100

OocuSlgn Envelope ID: 711A60E8-OOC8-4ABB-9BA3-40218469FD4A
                                                                                                  Exhibit 1
         ~                             PROMULGATED BY THE TEXAS REAL ESTATE COMMISSION (TREC)                                                 11-2-2015
          ISJ                            NOTICE; Not For Use Where Seller Owns fee Simple Title To Land Beneath Unit
          •;~~;:~~~':'       RESIDENTIAL CONDOMINIUM CONTRACT (RESALE}
             1, PARTIES: The parties to th[s contract are ~lilliam o McGuixe                      (Seller) and
                              Anthony Laughlin                                       (Buyer). Seller agrees to
               sell and convey to Buyer and Buyer agrees to buy from Seller the Property defined below.
            2, PROPERTY AND CONDOMINIUM DOCUMENTS:
               A. The Condominium Unit, Improvements and accessories described below are collectively
                    referred to as the "Property",
                    (1) CONDOMINIUM UNIT: Unit            3001    1 In Building
                        of              Five Fifty 05 Condo Amd            , a condominium project, located al:
                               555      5th Unit 3001                                                                                  78701



                           Texas, described in the Condominium Declaration and Plat and any amendments thereto
                           of record In said County; together with such Unit's undivided interest In the Common
                           Elements designated by the Declaration, including those areas reserved as Limited
                           Common Elements appurtenant to the Unit and such other rights to use the Common
                           Elements which have been specifically assigned to the Unit In any other manner. Parking
                           areas assigned to the Unit are:            2 re,,,erved !;;paces, 840 and B49

                     (2) IMPROVEMENTS: All fixtures and Improvements attached to the above described real
                         property includlng without limitation, the following permanently installed and built-in
                         items If any: all equipment and appliances, valances, screens, shutters, awnings, wall-
                         to-wall carpeting, mirrors 1 ceiling fans, attic fans, mail boxes, television antennas,
                         mounts ana brackets for televisions and speakers, heating and air conditloning units,
                         security and fire detection equipment, wiring, plumbing and lighting fixtures, chandeliers,
                         shrubbery, landscaplngh outdoor cooking equlP.ment, and all other property owned by
                         Seller and attached to t e above described Condominium Unit.
                     (3) ACCESSORIES: The following described related accessories, if any: window air
                         conditioning units, stove, flreplace screens, curtains and rods, blinds, window shades,
                         draperies and rods, door keys, mailbox keys above ground pool, swimming poof
                         equipment and maintenance accessories, artificial fireplace logs, and controls for:
                         (IJ garage doors (ii) entry gates, and (Ill) other improvements and accessories.
                     (4) EXCLUSIONS: The following Improvements and accessories will be retained by Seller and
                         must be removed prior to delivery of possession:                    n/a

               B, The Declaration, Bylaws and any Rules of the Association are called "Documents". (Checl<
                    one box only):
               0 (1) Buker has received a copy of the Documents, Buyer is advised to read the Documents
                         be ore signln{ the contract.
              IRl (2)Buyer has no~ received a copy of the Documents. Seller shall deliver the Documents to
                         Buyer within            10        days after the effective date of the contract. Buyer may cancel the
                         contract befofeffie sixth day after Buyer receives the Documents by hand-delivering or
                         mailing written notice of cancellation to Seller by certified United States mail, return
                         receipt requested, If Buyer cancels the contract pursuant to this paragraph, the contract
                         will terminate and the earnest money will be refunded to Buyer.
              c. The Resale Certificate from the condominium owners association (the Association) Is called
                    the "Certificate", The Certificate must be in a form promulgated by TREC or required by the
                    parties. The Certificate must have been prepared no more than 3 months before the date it
                    Is delivered to Buyer and must contain at a minimum the information required by Section
                    82,157, Texas Property Code,
                    1Check one box only):
              0 1) Buyer has received the Certificate.
              fKI 2) Buyer has not received the Certificate. Seller shall deliver the Certificate to Buyer within
                              14     days after the effective date of the contract. Buyer may cancel the contract
                         before the sixth day after the date Buyer receives the Certificate by hand-delivering or
                         maillng written notice of cancellation to Seller by certified United States mail, return
                         receipt requested. If Buyer cancels the contract pursuant to this paragraph, the contract
                         will terminate and the earnest money will be refunded to Buyer.
              0          (3) Buyer has received Seller's affidavit that Seller requested Information from the
                        Association concerning Its flnancfal condition as required by the Texas Property Code, and
                        that the Association did not provide a Certificate or information required in the
                        Certificate, Buyer and Seller agree to waive the requirement to furnish the Certificate.
              D. If the Documents reveal that the Property is subject to a rlght of refusal under which the
                   Association or a member of the Association may purchase the Property the effective date
                   sl1all be amended to the date that Buyer receives a copy of the Assodation's certification
                   that: (I) Seller has compiled with the requirements under the right of refusal; and (Ii) all
                   persons who may exercise the right of refusal have not exercised or have waived the right to
                   buy the Property. If Buyer does not receive the Association's certification withln
                       14       days after the effective date or if the right of refusal Is exercised, this contract shall
                   terminate and the earnest money shall be refunded tg Buyer.
     Initialed for identification by Buyer all,                         _ _ _ and Seller •~tn,,                          ___                   TREC NO. 30·12
    "Thia copyrl.ght protac.tcd form WiJ.C pi:oducnd 1..l&lng Lon(! liolf Roal Et1t.1::-o -'r-achnologi,an: ... 231 Sho&t:-~on CEosaant t,310~ TAR 16051nslonefFc;!1t;,::
    Cnmbrldgo, Onta:,:10 1 Co.:nad,q1 Ul"t lJ3




                                                                          P-000001
                   Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 5 of 100

D □ cuSlgn   Envelope ID: 711A60E8-DOC8-4ABB-9BA3-40218469FD4A




              Contract Concerning           555       5th Unit 3001                                Austin                        TX     78701 Page 2 of 8     11-2-2015
                                                                                  (Address of Property)
               3. SALES PRICE:
                   A. Cash portion of Sales Price payable by Buyer at closing .. , ............ , .. , $         1,375, ooo. oo
                   B. Sum of all financing described In the attached: 0 Third Party Financing Addendum,
                      □ Loan Assumption Addendum, 0              Seller Financing Addendum .. , $ ~ - - - - - - - -
                  c, Sales Price (Sum of A and B} ...... , ...................... ,.................... , .... $ 1,375,ooo.oo
               4. LICENSE HOLDER DISCLOSURE: Texas law requires a real estate license holder who Is a party
                  to a transaction or acting on behalf of a spouse, parent, child, business entity in which the
                  license holder owns more than 10%, or a trust for which the license holder acts as trustee or of
                  which the license holder or the license holder's spouse, parent or child Is a beneficiary, to notlfy
                  the other party in writing before enterlng Into a contract of sale, Disclose If appllcable:"""n.,_/acc___

               5. EARNEST MONEY: Upon execution of this contract by all parties, Buyer shall deposit $ 25, ooo. oo
                  as earnest money with                    HERITAGE TITLE - MARY METZ                , as escrow agent,
                  at 2500 BEE CAVE                                          ROLLINGWOOD         TX     78746   (address).
                  Buyer shall deposit additional earnest money of $~~--~~~with escrow agent withm
                    N/A      days after the effective date of this contract. If Buyer falls to deposit the earnest money
                  as required by this contract, Buyer will be in default.
               6, TITLE POLICY:
                  A. TITLE POLICY: Seller shall furnish to Buyer at IIDSeller's □ Buyer's expense an owner policy of
                      title insurance (Title Policy) issued by             HERITAGE TITLE           (Title    Company)
                      in the amount of the sales Price, dated at or after closing, insuring Buyer against loss under



                      Il
                      the provisions of the Title Polley, subject to the promulgated exclusions (Including existing
                      building and zoning ordinances) and the following exceptions:
                           Restrictive covenants common to the platted subdivision In which the Property ls located.
                       2 The standard printed exception for standby fees 1 taxes and assessments.
                       3 Liens created as part of the financing described m Paragraph 3.
                       4 Terms and provisions of the Documents Including the assessments and platted
                           easements.
                     {5) Reservations or exceptions otherwise permitted by this contract or as may be approved by
                           Buyer In writing,
                     (6) The standard printed exception as to marital rights.
                     (7) The standard printed exception as to waters, tidelands, beaches, streams, and related
                           matters.
                     (8) The standard printed exception as to discrepancies, conflicts, shortages In area or boundary
                           lines, encroachments or protrusions, or overlapping Improvements.
                  B. COMMITMENT: Within 20 days after the Title Company receives a copy of this contract, Seller
                     shall furnish to Buyer a commitment for title Insurance {Commitment) and, at Buyer's
                     expense, legible copies of restrictive covenants and documents evidencing exceptions in the
                     Commitment (Exception Documents) other than the standard printed exceptions, Seller
                     authorizes the Title Company to deliver the Commitment and Exception Documents to Buyer
                     at Buyer's address shown in Paragraph 21. If the Commitment and Exception Documents are
                     not delivered to Buyer within the specified time, the time for delivery will be automatically
                     extended up to 15 days or 3 days before the Closing Date whichever is earlier, If due to
                     factors beyond Seller's control, the Commitment and -Excepdon Documents are not delivered
                     within the time required, Buyer may terminate this contract and the earnest money wl!I be
                     refunded to Buyer,
                  C, OBJECTIONS; Buyer may object In writing to defectsh exceptions, or encumbrances to title:
                     disclosed Jn the Commitment other than items 6A(1) t rough (8) above; or which prohibit the
                     following use or activity: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     Buyer must object the earlier of (I) the Closing Date or (II). 10  days after Buyer receives
                     the Commitment and Exception Documents. Buyer's failure to object within the time
                    allowed will constitute a waiver of Buyer's right to object; except that the requirements in
                    Schedule C of the Commitment are not waivea by Buyer. Provided Seller Is not obligated to
                    Incur any expense, Seller shall cure the timely objections of Buyer or any third party lender
                    within 15 days after Seller receives the objections and the Closing Date will be extended as
                    necessary, It objections are not cured within such 15 day period, this contract wlll terminate
                    and the earnest money will be refunded to Buyer unless Buyer waives the objections.
                 D. TITLE NOTICES:
                    (l)ABSTRACT OR TITLE POLICY: Broker advises Buyer to have an abstract of title covering
                        the Property examined by an attorney of Buyer's selection, or Buyer should be furnished
                        with or obtain a Tltle Policy, If a Title Policy Is furnished, the Commitment should be
                        promptly reviewed by an attorney of Buyer's choice due to the time limitations on Buyer's
                        right to obiect.
                    (2) STATUT0R'Y TAX DISTRICTS: If the Property Is situated ln a utility or other statutorily
                        created district providing water, sewer, aralnage, or flood control facllltles and services,
                        Chapter 49 Texas Water Code requires Seller to deliver and Buyer to sign the statutory
                        notice relatlng to the tax rate, bonded Indebtedness, or standby fee of the district prior to
                        final execution of this contract.

       Initialed for identification by Buyer Mt                                ___ and Selle '--1-""'-''_ _                                               TREC NO. 30-12
      Thi.i, -aopy:d..g,ht px~teoted form. li'.llls p;r-odu-cod uaitig l,-1m-o Holf J1;o~l E!al:ata 'l'a-chnolo,1giua - 231 Shaart1on Creoc:ont 11310-,
      ,Ca,,n-.t,;d.d90, Ontario, Ca:n.Qda HlT 1.JJ
                                                                                                                                                          TAR 16051nstonet1 ()I/Mc,




                                                                                     P-000002
                  Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 6 of 100

DocuSlgn Envelope ID: 711A60E8-OOC8-4ABB·9BA3-40218469FD4A




            Contract Concerning           555      5th Unit 3001                                Austin                      TX    78701 Page 3 of B     11-2-2015
                                                                               (Address of Property)
                   (3) TIDE WATERS: If the ProP.erty abuts the tidally influenced waters of the state, Ei33.135,
                        Texas Natural Resources Code, requlres a notice regarding coastal area properl:y to be
                        Included in the contract. An addendum containing the notice promulgated by TREC or
                        required by the parties must be used,
                   (4) ANNEXATION: IF the Property Is located outside the limits of a municipality, Seller notifies
                        Buyer under §5,011, Texas Property Code, that the ProP.erty may now or later be included
                        In the extraterritorial jurisdiction of a munlclpallty ancl may now or later be subject to
                        annexation by the munlclpallty, Each munlclpallty maintains a map that depicts Its
                        boundaries and extraterrltorlal jurisdiction, To determine if the Property Is located within a
                        municipality's extraterrltorlal jurisdiction or Is likely to be located within a munlclpallty's
                        extraterritorial jurisdiction,,. contact all municipalities located In the general proximity of
                        the Property for further lnrormation,
                   (5) PROPERTY LOCATED IN A CERTIFICATED SERVICE AREA OF A UTILITY SERVICE
                        PROVIDER: Notice required by §13.257, Water Code: The real property, described In
                        Paragraph 2, that you are about to purchase may be located in a certificated water or
                        sewer service area 1 which Is authorized by law to provide water or sewer service to the
                        properties in the certificated area. If your property Is located In a certificated area there
                        may be special costs or charges that you will be required to pay before you can receive
                        water or sewer service, There may be a period required to construct lines or other
                        facilities necessary to provide water or sewer service to your property, You are advised to
                        determine if the property ls In a certificated area and contact the utility service provider to
                        determine the cost that you wlll be required to pay and the period, If any, that Is required
                        to provide water or sewer service to your property, The undersigned Buyer hereby
                        acknowledges recelpt of the foregoing notice at or before the execution of a binding
                        contract for the pLirchase of the real property described In Paragraph 2 or at closing of
                       Qurchase of the real property.
                   (6) TRANSFER FEES: If the ProP.erty is subject to a private transfer fee obligation, §5.205,
                        Property Code, requires Seller to notify Buyer as follows: The private transfer fee
                        obligation may be governed by Chapter 5, Subchapter G of the Texas Property Code,
                   (7) PROPANE GAS SYSTEM SERVICE AREA: If the Property is located in a propane 9.as system
                       service area owned by a distribution system retailer, Seller must give Buyer written notice
                       as required by §141.010, Texas Utilities Code, An addendum containing the notice
                       approved by TREC or required by the parties should be used,
                  (8) NOTICE OF WATER LEVEL FLUCTUATIONS: If the Property adjoins an impoundment of
                       water, Including a reservoir or lake, constructed and maintained under Chapter 11, Water
                       Code, that has a storage capacity of at least 5,000 acre-feet at the lmpoundment's normal
                       operating level, Seller hereby notifies Buyer: "The water level of the impoundment of
                       water adjoining the Property fluctuates for various reasons, Including as a result of: (1) an
                       entity lawfully exercising Its right to use the water stored In the impoundment; or {2)
                       drought or flood conditions."
            7, PROPERTY CONDITION:
               A. ACCESS, INSPECTIONS AND UTILITIES: Seller shall permit Buyer and Buyer's agents access
                  to the Property at reasonable times, Buyer may have the Property Inspected 1:iy inspectors
                  selected by Buyer and llcensed by TREC or otherwise permitted by law to make Inspections,
                  Any hydrostatic testing must be separately authorized by Seller In writing, Seller at Seller's
                  expense shall Immediately cause existing utilities to be turned on and shall keep the utilitles
                  on during the time this contract Is In effect .
               B. SELLER'S DISCLOSURE NOTICE PURSUANT TO §5,008, TEXAS PROPERTY CODE (Notice):
                    Check one box only)
               00 ~1) Buyer has received the Notice,
               0 2) Buyer has not received the Notice. Within ____ days after the effective date of this
                       contract, Seller shall deliver the Notice to Buyer. If Buyer does not receive the Notice,
                       Buyer may terminate this contract at any time prior to tlie dosing and the earnest money
                       wltr be refunded to Buyer. If Seller delivers the Noticef Buyer may terminate this contract
                       for any reason within 7 days after Buyer receives he Notice or prior to the closing,
                       whichever first occurs, and tlie earnest money wlll be refunded to Buyer.
               0 (3)The Texas Property Code does not require this Seller to furnish the Notice,
               C. $ELLER'S DISCLOSURE OF LEAD-BASED PAINT AND LEAD-BASED PAINT HAZARDS is required by
                  Federal law for a residential dwelling constructed prior to 1978,
               D. ACCEPTANCE OF PROPERTY CONDITION: "As Is" means the present condition of the Property
                  wlth any and all defects and without warranty except for the warranties of title and the
                  warranties In this contract. Buyer's agreement to accept the Property As Is under Paragraph
                  7D(1) or (2) does not preclude Buyer from Inspecting the Property under Paragraph 7A, from
                  negofiating repairs or treatments in a subsequent amendment, or from terminating this
                  contract during the Option Period, If any.
                   Check one box only)
                    f
              00 1) Buyer accepts the Property As Is.
              D 2) Buyer accepts the Property As Is provided Seller, at Seller's expense, shall complete the
                      following specific repairs and treatments:..ccN~A~-----------------




      Initialed for identification by Buyer M.l                            ___ and Seller                  -,,;t>,,,     ___                       TREC NO. 30-12
     1/hla aopyri9hl: px-,ol::-act,qd .form Wllli: produc-ad using J.,-Ona Wc,lf Re11l £n:l;:ato Tochnologion - 231 ShoartJ(ln C.t'QDc-ent RJlo.   TAR 1605 tnsi·aned-r<.1!•1N:;
     Ca.n\b,:-idgat Ontario, Can,iLda IHT lJ.l:




                                                                                 P-000003
                  Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 7 of 100
DocuSlgn Envelope ID; 711A60EB•DDC8-4ABB-9BA3-40218469FD4A



           Contract Concerning           555       5th Unit 3001                                 Austin                         TX     78701 Page 4 of B 11-2-2015
                                                                                (Address of Property)
                 destroying insects. If the parties do not agree to fay for the lender required repairs or
                 treatments, this contract will terminate and the earnes money will be refunded to Buyer. If the
                cost of lender required repairs and treatments exceeds 5% of the Sales Price, Buyer may
                 terminate this contract and the earnest money will be refunded to Buyer.
            F. COMPLETION OF REPAIRS AND TREATMENTS; Unless otherwise agreed in writing: {i) Seller
                shall complete all agreed repairs and treatments prior to the Closing Date; and (ii) all required
                 permits must be obtained, and repairs and treatments must be performea by persons who are
                 licensed to provide such repairs or treatments or, If no license Is required bY. law, are
                commercially engaged In the trade of providing such repairs or treatments, At Buyer's election,
                any transferable warranties received by Seller with respect to the repairs and treatments will
                 be transferred to Buyer at Buyer's expense. If Seller falls to complete any agreed repairs and
                treatments prior to the Closing Date Buyer may exercise remedies under Paragraph 15 or
                extend the Closfng Date UP: to 5 days if necessary for Seller to comrlete repairs and treatments.
            G, ENVIRONMENTAL MATTERS: Buyer Is advised tnat the presence o wetlands, toxic substances,
                Including asbestos and wastes or other environmental liazards or the presence of a threatened
                or endangered species or Its habitat may affect Buyer's intended use of the Property. If Buyer
                fs concerned about these matters, an addendum promulgated by TREC or required by the
                parties should be used,
            H. RESIDENTIAL SERVICE CONTRACTS: Buyer may purchase a residential service contract from
                a residential service company licensed by TREC. If Buyer purchases a residential service
                contract, Seller shall reimburse Buyer at closing for the cost o the residential service contract
                in an amount not exceeding $             o, oo         . Buyer should review any residential service
                contract for the scope of coverage, exclusions and limitations. The purchase of a residential
                service contract is optional. Similar coverage may be purchased from various
                companies authorized to do business in Texas.
          8,BROKERS' FEES: All obllgatfons of the parties for payment of brokers' fees are contained In separate
            written agreements.
          9.CLOSING:
            A. The dosing of the sale will be on or before               Feb          16   , 2018 , or within 7 days
                after objections to matters disclosed in the Commitment have been cur~whichever date is
                later (Closing Date), If either party falls to close the sale by the Closing Date, the non-
                defaulting party may exercise the remedies contained in Paragraph 15.
            B. At closing:
               (1) Seller shall execute and deliver a general warranty deed conveying title to the Property to
                      Buyer and showing no additional exceptions to those permitted In Paragraph 6 and furnish
                      tax statements or certificates showing no delinquent taxes on the Property.
               (2) Buyer shall pay the Sales Price In good funds acceptable to the escrow agent.
               ( 3) Sefler and Buyer shall execute ano deliver any notices, statements, certificates, affidavits,
                      releases, loan documents and other documents reasonably required for the closing of the
                      sale and the Issuance of the Title Policy.
               ( 4) There wlll be no liens, assessments, or security interests against the Property which will not
                      be satisfied out of the sales proceeds unless securing the payment of any loans assumed
                      by Buyer and assumed loans will not be In default.
               (5) If the Property is subject to a residential lease, Seller shall transfer security deposits (as
                      defined under §92,102, Property Code), if any, to Buyer. In such an event, Buyer shall
                      deliver to the tenant a signed statement acknowledging that the Buyer has acquired the
                      Property and Is responsible for the return of the security deposit, and specifying the exact
                      dollar amount of the security deposit.
         10. POSSESSION:
           A. Buyers Possession: Seller shall deliver to Buyer llQssesslon of the Property In Its m,:esent or required
               condition, ordinary wear and tear excepted: ·u upon closing and funding !Al according to a
               temporary residential lease form promulgated by TREC or other written lease required by the
               partles, Any possession by Buyer prior to closing or by Seller after dosing which is not authorized by
               a written lease will establish a tenancx at sufferance relationship between the parties, Consult your
               insurance agent prior to change of ownership and possession because insurance coverage
               may be limited or terminated. The absence of a written lease or appropriate insurance
               coverage may expose the parties to economic loss,
           B. Leases:
               (1) After the Effective Date, Seller may not execute any lease (including but not limited to
                     mineral leases) or convey any Interest In the Property without Buyer's written consent,
               (2) If the Property is subject to any lease to which Seller Is a partyd Seller shall deliver to
                     Buyer copies of the lease(s) and any move-In condition form slgne by the tenant within 7
                     days after the Effective Date of the contract.
         11.SPECIAL PROVISIONS: (Insert only factual statements and business detalls applicable to the
            sale. TREC rules prohibit license holders from adding factual statements or business details for
            which a contract addendum, lease or other form has been promulgated by TREC for mandatory
               ~!IYer to provide letter from building authority detailing that provision exists for
               reimbursement to the buyer for flooring replacement due to damaged wood floors that will
               be replaced after closing,

               Realtor commissions to be based on sale price only.


     Initialed for identification by Buyer                         au                     and Seller           1~"'''                                    TREC NO, 30-12
     This aopydghl: pl:otoctod Catm 1-10:si p.rotl\lr.::od uoing
     c;:a.ttohrldge~ Oritr1do, CiinPda lHT 1J3
                                                                    one- $-lolC nonl lii::i:ta.tQ Tachnologion ... 231 ShQ-111:·oon Cro.in:o.nt 11310,
                                                                                                                                                         TAR 16051mtanehm1,1s




                                                                                    P-000004
                   Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 8 of 100

DocuSlgn Envelope ID: 711A60E8-DDC8-4ABB-9BA3-40218469FD4A



            Contract Concerning            555       5th Unit 3001                                        Austin                 TX      78701 Page       s of a   11-2-2015
                                                                                  (Address of Property)
         12,SETTLEMENT AND OTHER EXPENSES:
              A. The following expenses must be paid at or prior to dosing:
                 (1) Exfenses payable by Seller (Seller's Expenses):
                     (a Releases of existing llens, Including prepayment penalties and recording fees; lendert
                         FHA, or VA completlon requirements; tax statements or certificates· preparation or
                         deed; one-half of escrow fee; and other expenses payable by Seller under this contract.
                     (b) Seller shall also P.aY an amount not to exceed$         o.oo      to be apRlled In the
                         following order: Buyer's Expenses which Buyer Is prohibited from paying by FHA, VA,
                         Texas Veterans Land Board or other governmental loan programs, and then to other
                         Buyer's Expenses as allowed by the lender.
                 (2) Expenses payable by Buyer (Buyer's Expenses): Appraisal fees; loan application fees;
                     origination cliarges; credit reports; preparation of loan documents; interest on the notes
                     from date of disbursement to one month prior to dates of first monthly payments;
                     recording fees; copies of easements and restrictions· loan title policy with endorsements
                     required by lenderj' loan-related Inspection fees; photos; amortization schedules; one-half
                     of escrow fee; al prepaid items, including required premiums for flood and hazard
                     insurance, reserve deposits for insurance, ad valorem taxes and special governmental
                     assessments; final compliance Inspection; courier fee; repair inspection; underwriting fee;
                     wire transfer fee; expenses incident to any loan; Private Mortgage Insurance Premium
                     (PMI), VA Loan Funding Fee, or FHA Mortgage Insurance Premium (MIP) as required by the
                     lender; and other expenses payable by Buyer under this contract.
                 (3) Except as provided by 12(A){4) below, Buyer shall pay any and all Association fees or
                     other charges resulting from tfle transfer of the Property not to exceed $      2so. oo
                     and Seller shall pay any excess.
                 (4) Buyer shall pay any deposits for reserves required at dosing by the Association.
             B. lf any expense exceeds an arnount expressly stated In this contract for such expense to be
                 paid oy a party, that party may terminate thls contract unless the other Rartv agrees to pay
                such excess. Buyer may not pay charges and fees expressly prohibited by FHA, VA, Texas
                Veterans Land Board or other governmental loan program regulations.
        13. PRORATIONS: Taxes for the current year, Interest, maintenance fees, regular condominium
             assessments dues and rents will be prorated through rhe Closing Date. Tlie tax proration may be
             calculated tal<ing into consideration any change In exemptions that will affect the current year's
             taxes. If taxes for the current year vary from the amount prorated at closing the parties shall
             adjust the proratlons when tax statements for the current year are available. If ~axes are not paid
             at or prior to dosing, Buyer shall pay taxes for the current year, Cash reserves from regular
             condominium assessments for deferred maintenance or capital improvements established by the
             Association will not be credited to Seller. Any special condominium assessment due and unpaid at
             closing will be the obligation of Seller.
        14. CASUALTY LOSS; If any P,art of the Unit which Seller Is solely obligated to maintain and repair
             under the terms of the Declaration is damaged or destroyed by fire or other casualty, Seller shall
             restore the same to Its previous condition as soon as reasonably possible, but in any event by the
             Closing Date, If Seller falls to do so due to factors beyond Seller's control, Buyer may (a)
             terminate this contract and the earnest money will be refunded to Buyer, {b) extend the time for
             performance up to 15 days and the Closing Date will be extended as necessary or (c) accept the
             Propertv. in Its damaged condition with an assignment of Insurance proceeds, If permitted by
             Seller's Insurance earner(, and receive credit from Seller at closing In the amount of the deductible
             under the Insurance pol cy. If any part of the Common Elements or Limited Common Elements
             appurtenant to the Unit is damaged or destroyed by fire or other casualty loss, Buyer will have 7
             days from receii:,t of notice of such casualty loss wlthin which to notify Seller in writing that the
             contract wlll be terminated unless Buyer receives written confirmation from the Association that
             the damaged condition will be restored to its previous condition within a reasonable time at no
             cost to Buyer, Unless Buv.er gives such notice within such time, Buyer will be deemed to have
             accepted tile Property without confirmation of such restoration. Seller will have 7 days from the
             date of receipt of Buyer's notice within which to cause to be delivered to Buyer such confirmation,
            If written confirmation Is not delivered to Buyer as required above( Buyer may terminate this
            contract and the earnest money WIii be refunded to Buyer. Sel er's obligatlons under this
            paragraph are independent of any other obligations of Seller under this contract.
        1S. DEFAULT: If Buyer falls to comply with this contract, Buyer will be In default, and Seiler may (a)
            enforce specific performance, seek such other relief as may be provided by law or both, or {b)
            terminate this contract and receive the earnest monev. as h~uldated damages, thereby releasing
            both parties from this contract. If Seller falls to comply w!tli this contract for any otlier reason,
            Seller wlll be In default and Buyer may {a) enforce si:iec1fic performance, seek sucfl other relief as
            may be provided by law, or both, or fb) terminate this contract and receive the earnest money,
            thereby releasing both parties from this contract.
        16, MEDIATION: It Is the P.Olicy of the State of Texas to encourage resolution of disputes through
            alternative dispute resolution Rrocedures such as mediation. Any dispute between Seller and
            Buyer related Ea this contract which is not resolved through informal discussion will be submitted
            to a mutually acceptable mediation service or provider, The parties to the mediation shall bear
            the mediation costs equally. This paragraph does not preclude a party from seeking equitable
            relief from a court of competent jurisdiction.
        17. ATTORNEY'S FEES: A Buyer, Seller, Listing Brol<er, Other Broker, or escrow agent who prevails
            In any legal proceeding related to this contract is entitled to recover reasonable attorney's fees
            and all costs of such proceeding.                           .,
     Initialed for identification by Buyer                         AU         _ _ and              Seller     1_,,             ___                          TREC NO, 30-12
     'This ~opyrlght. :p:t;olC!cta:d f~icm NDl!I p.roduc~d usiqg l,.:,nc, Half neal ~lit.at.a Technologiftl!II .... 231 Sbaai:.eon C:::t"~scant: Hll-0,     TAR 16051nstanelfo1~,A~
     Ca.mbrldga-, Ont•t:lot Can~dn. Uliz- lJJ




                                                                                     P-000005
                  Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 9 of 100

DocuSlgn Envelope ID; 711A60E8-DDC8-4ABB-9BA3-40218469FD4A




           Contract Concerning          555       5th Unit 3001                                     Austin               TX      78701 Page 6 of 8   11-2-2015
                                                                             (Address of Property)

         18. ESCROW:
             A. ESCROW: The escrow agent is not (i) a party to this contract and does not have liabllit'{ for the
                 performance or nonperformance of any party to this contract, (II) liable for interes on the
                 earnest money and Oil) liable for the loss of any earnest money caused by the failure of anY.
                 financial institution 1n which the earnest money has been deposited unless the financial
                 Institution is acting as escrow agent,
             B. EXPENSES: At closing, the earnest money must be applied first to any cash down payment,
                 then to Buyer's Expenses and any excess refunded to Buyer. If no closing occurs, escrow
                 agent may: (1) rectulre a written release of llablllty of the escrow agent from all partles1 (II)
                require payment of unpaid expenses Incurred on behalf of a party, and (iii) only deduct rrom
                 the earnest money the amount of unpaid expenses Incurred on □ ehalf of fhe party receiving
                the earnest money.
             C. DEMAND: Upon termination of this contract, either party or the escrow agent may send a
                release of earnest money to each party and the parties shall execute counterparts of the
                release and delfver same to the escrow agent. If either party fails to execute the release,
                either party may make a written demand to the escrow agent for the earnest money. If only
                one part'/ makes written demand for the earnest money escrow agent shall promptly provide
                a copy o the demand to the other party, If escrow agent does not receive written obJectlon to
                the demand from the other _party within 15 days, escrow agent may disburse the earnest
                money to the party making demand reduced by tlie amount of unpaid expenses Incurred on
                behalf of the party receiving the earnest money and escrow agent may pay the same to the
                creditors. If escrow agent complies with the provisions of this paragraph, each party hereby
                releases escrow agent from all adverse claims related to the disbursal of the earnest money.
             D, DAMAGES: Any party who wrongfully falls or refuses to sign a release acceptable to the escrow
                       2
                a ent within 7 days of receipt of the request wlll be liable to the other party for (i) damages;
                (11 the earnest money; pii) reasonable attorney's fees; and {iv) all costs of suit.
             E. N TICES: Escrow agents notices will be effective when sent in compliance with Paragraph 21.
                Notice of objection to the demand will be deemed effective upon receipt by escrow agent.
        19. REPRESENTATIONS: All covenants, representations and warranties in this contract survive
             closing. ff any representation of Seller ln this contract Is untrue on the Closing Date, Seller will
             be In aefault. Unless expressly prohibited by written agreement, Seller may conl:lnue to show the
             Property and receive, negotiate and accept 6ack up offers.
        20, FEDERAL TAX REQUIREMENTS: If Seller is a "foreign person "as defined by aJJplicable law or
            If Setler falls to deliver an affidavit to Buyer that Seller Is not a &foreign person," tllen Buyer shall
             wlthhold from the sales proceeds an amount sufficient to comply with applicable tax Jaw and
             deliver the same to the Internal Revenue Service together with appropriate tax forms. Internal
            Revenue Service regulations require filing written reports If currency In excess of specified
            amounts fs received m the transaction,
        21. NOTICES: All notices from one party to the other must be in writing and are effective when
            mailed to, hand-delivered at, or transmitted by fax or electronic transmission as follows:
             To Buyer                                              To Seller
               at:                           13420 GALLERIA CIRCLE:, A 105                       at:
                                  AUSTIN                         TX         78738

                Phone:                              512-633-0255                                  Phone:

                Fax:                                                                              Fax:
             E-m aII :  WARREN. KULL@SOT HEBYSREl\.LTY • COM E• mal I:         BILLMCG@TOGBTHER . NET
        22. AGREEMENT OF PARTIES: This contract contains the entire agreement of the parties and
            cannot be changed except by their written agreement. Addenda which are a part of thls contract
            are (check all applicable boxes):
              D Third Party Financing Addendum                D Environmental Assessment,, Threatened
              □ Loan Assumption Addendum                            i~a~~3ag,ered Species ana Wetlands
                 D       Buyer's Temporary Residential Lease                                        O Addendum for Property Located Seaward
                 (HI     Seller's Temporary Residential Lease                                                of the Gulf Intracoastal Waterway
                 □       Addendum for Sale of Other Property                                        D Addendum for Release of Uabllity on
                         by Buyer                                                                            Assumption of FHA VA, or Conventional
                 □       Addendum for "Back-Up" Contract                                                     riraol~tti~:~1~~gt~~ger's Entitlement
                 0  Seller Financing Addendum               □ Addendum for Property in a Propane Gas
                 D  Addendum for Coastal Area Property            System Service Area
              □     Short Sale Addendum
                                                           181 Other (11st): NON REALTY ITEM ADDENDUM
              □ Information
                    Addendum for Seller's Disclosure of
                                 on Lead-based Paint and
                    Lead-based Paint Hazards as Required
                    b Federa Law                                                                         M
                                                              1V'P111
     Initialed for Identification by Buyer Mt    ___ and Seller==--                        TREC NO. 30-12
    Thi& copyright protoobod fc~m woi:i, p.x:-odU(:.'l,l'd i:isS.ng Lone ffolf R-oal E:ot.at-a 'l'-ochnologios - 231 S)1oa:taon Crosc•mt NJlO.
    Cambt:idg~, Onl;:n.do, Ca:nadi!I U-l't 1JJ                                                                                                   TAR 1605 !nsluneh,m,,'.,




                                                                                P-000006
                  Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 10 of 100
DocuSlgn Envelope ID: 711A60E8-DDC8·4ABB-9BA3-40216469FD4A



             Contract Concerning            555          5th Unit 3001                                 Austin              TX        78701 Page 7 of 8 11-2-2015
                                                                                  (Address of Property)

          23. TERMINATION OPTION: For nominal consideration! the receipt of which Is hereb
              acknowledged bt Seller, and Buyer's apreement to pal Se ler $             1100.00       (Option Fee                                                     0
              within 3 dahs af er the effective date o this contrac~ eller grants Buyer the unrestricted right to
              terminate t is contract by giving notice of terminat on to Seller within         s     days after the
              effective date of this contract (Option Period), Notices under this para8ra~h must be given by
              5:00       g,m,
                         vocal time where the Property ls located)
              state as he Option Fee or If Buyer falls to P.8~ he Ofitlon Fee to Seller within the time
                                                                                                        bB
                                                                         the date s~ecifle , f no dollar amount Is
              prescribed, this paragraph will not be a part of his con ract and Buyer shall not have the
              unrestricted right to terminate this contract. If Buyer gives notice of termination within the time
              grescribed, the Option nfie wll:Jiot be refunded{ however, any earnest money will be refunded to
               uyer. The Option Fee will       wlll not be cred ted to the Sales Price at closing. Time is of the
              essence for this paragraph and strict compliance with the time for performance is
              required.
         2.4, CONSULT AN ATTORNEY BEFORE SIGNING: TREC rules prohibit real estate license holders
              from giving legal advice, READ THIS CONTRACT CAREFULLY.

                 Buyer's                                                                              Seller's
                 Attorney is:                            none selected                                Attorney is:                        none selected




                  Phone:                                                                               Phone:

                  Fax:                                                                                 Fax:

                 E-mall:                                                                               E-mail:

                              day of          1/31/2018                                                                , 20_ _ (EFFECTIVE DATE).
           EXECUTED the
           (BROKER: FILL IN THE DATE OF FINAL ACCEPTANCE,}




              ~           .......,
                      ~~ ~lJi~
                         o4l!Blll!tlemy.. Laughlin                                               S
                                                                                                   ~-,-.
                                                                                                      1(1,.,tu- 'iJ. ,,,,~lfw,,t/1
                                                                                                        t87Wffl7.fflRr· D McGuire



              Buyer                                                                              Seller




          The form of this contract has been approved by the Tex<1s Real Estate Commission, TREC forms are intended for use only by
          trained real estate llcense holders, No representation is made as to the legal valldlty or adequacy of any provision In any specific
          transactions. It Is not Intended for complex transactions. Texas Real Estate Commission, P.O. Box 12188, Austin, TX 78711-
          2188, (~12) 936-3000 (http://www.trec,tex<1s,9ov) TREC NO, 30-12, This form reelaces TREC NO, 30-11,

                                                                                                                                                        TREC NO. 30-12
     'Thi-Iii copyrigbt protoota.d fonL     '11l.&
     C,rullbrldgo t Ontnd. o, Cann.d,111 Hl'l' lJl
                                                     p.roducad u1Un9 Lona ffolf Roal Erzt:.ate 'J'ocnnologioa - 2Jl ShCJar.son   Cr11.HJCQnt   11310,
                                                                                                                                                        TAR 1605 lnslanelro11,,\',




                                                                                     P-000007
                     Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 11 of 100
DocuSlgn Envelope ID; 711A60E8-DDC8-4ABB-9BA3-40218469FD4A



            Contract Concerning             555             5th Unit 3001                                      Austin            TX       78701 Page 8 of 8 11-2-2015
                                                                                              (Address of Property)
                                                                                                                                                                            -----
                                                                                       BROKER INFORMATION
                                                                                    (Print name(s} only, Do not sign)

             KUPER SOTHEBY'$ lNTERNATXONIU,                                                 579589      MORELAND PROPERTIES                                         365025
             other Broker Firm                                                            license No.   Listing Broker Firm                                     License No.

             represents          Iii Buyer only as Buyer's agent                                        represents      Oseller and Buyer as an Intermediary
                                 0    Seller as Listing Broker's subagent                                               00 Seller only as Seller's agent
             WARREN KULL                                                                    53J468      ELSA D DECKER                                             0454766
             Assoclate's Name                                                             License No.   Listing Assoclate's Name                                License No,

             BRIDGET WILLIE                                                                  408704     EMILY MORELAND                                              246613
             Licensed Supervisor of Associate                                          License No.      Licensed Supervisor of Listing Associate                License No,
            13420 GALLERIA CIR l/A 105                                             512261~0009           3625 LAX<E AUSTIN BLVD ltSOl
            Other Broker's Address                                                          Fai<        Listing Broker's Office Address                                 Fax
             Au&tin                                            'l'X                           78'138    AUSTIN                                      TX               78703
             City                                                      State                      Zip   City                                       State                Zip
            WAARENKULL@SOTllEBYS!\EALTY,COM                                         5126330255          ELSADECKER@MORELAND.COM                            512-771-6831
            Assodate's Email Address                                                     Phone          Listing Assoclate's Email Address                         Phone


                                                                                                        Selling Assoclate's Name                                License No.

                                                                                                        Licensed Supervisor of Selllng Associate                License No.

                                                                                                        Selling Assoclate's Office Address                              Fax

                                                                                                        City                                     State                  Zip


                                                                                                        Selling Assoclate's Email Address                            Phone

            listing Broker has agreed to pay Other Broker        3%       of the total sales price when the Listing Broker's
            fee is received. Escrow agent ls authorized and directed to pay other Broker from listing Broker's fee at closing.
        •w--~-•-••-•'"•"                             ~·-~     ··----       -···                                                                                         --•- ....,..   ~




                                                                                            OPTION PEE RECEIPT
                                  $400,00                                                                         cashiers check
            Receipt of$                                                  (Option fee) In the form of                                                Is acknowledged.

                     ~-~~
                      rts~ Vuk.t..r                                                                                     2/2/2018
            Selle-71'!1Ym1!'P:el~Rer                                                                      Date


                                                                       CONTRACT AND EARNEST MONEY RECEIPT

           Receipt of mtntract and
           Is aclmowledged,
                                            1               ~ 9-5: 0 o O                                Earnest Money In the form of            W~i-e_..
           Escrow Agent: HERITAGE TITLE - MAm'. METZ                                                                    Date:             ~- :1- MI.~
           By:-cP'-v (} ~ ~                                                                                               M \fv\J> 2'=:b:@hcn.\-4i--h~G ½
                                                                                                                        Emall Addres"/?

            2500 :SEE CAVE                                                                                              Phone:
           Address                                                                                                         "SUBJl.'H.JT TO THE tEHMS
                                                                                                                           AND CONDITIONS CONTAINED
            ROLLING~700D                                                          TX                           78746    Fax~N IME 8TTACI-IED EAFINEST
           City                                                                   State                           Zip      MONEY AEC!Elf"T•

                                                                               -·~---        •,-••---

                                                                                                                                                           TREC NO. 30-12
    Thia aopy:dght prot.ectud ro:nn Has p:rod\J-cl!d using LooC!I ,tolf n-al Estal:Q To-.chnologlea .. 231 sneni-oon ere.scent U310,
    Cambri.dlJD, Ontl!l-:d.or C.p.,,ada NU.• li.13                                                                                                         TAR 1605 lnsloneli n111;1',




                                                                                                    P-000008
                           Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 12 of 100
DocuSign Envelope ID: 77C4C540-9DCD-4258-9C1 B-38D3D8D4C266


                                                   APPROVED BY THE TEXAS REAL ESTATE COMMISSION (TREC)                                                                     10-10-11
                                                                FOR VOLUNTARY USE
         EQUAi. HOU$i"'3
          O?PORTIJNITT


                                                              NON-REALTY ITEMS ADDENDUM
                                                         TO CONTRACT CONCERNING THE PROPERTY AT

                                                           555 E 5th St# 3001, Austin, TX 78701-4157
                                                                                     (Address of Property)


        A. For an additional sum of$ zero                  and other and good valuable consideration, Seller shall
               convey to Buyer at closing the following personal property (specify each item carefully, include
               description, model numbers, serial numbers, location, and other information):
               1.) White 2 shelf end table currently located in the living room.
               2.) Carpet runner currently located in the hallway of the unit.




        B. Seller represents and warrants that Seller owns the personal property described in Paragraph A free
               and clear of all encumbrances.

        C. Seller does not warrant or guarantee the condition or future peliormance of the personal property
           conveyed by this document.



      ~=F4~~
      1n:oiSlgned
        Anthony Laughlin
                           by:


                                                                                                       Seller
                                                                                                       William D Mcguire


        Buyer                                                                                          Seller


                   This form has been approved by the Texas Real Estate Commission for voluntary use by its
                   licensees. Copies of TREC rules governing real estate brokers, salesperson and real estate
                   inspectors are available at nominal cost from TREC. Texas Real Estate Commission, P.O.
                   Box 12188, Austin, TX 78711-2188, 512-936-3000 (http://www.trec.texas.gov)


      (TAR-1924) 10-10-11                                                                                                                                         TREC NO. OP-M
   Kuper Solbcby• Inll R,alty. Galleria, 13420 Galleria arcle,SulleA-105 Austin TX 78738                                    Phone: Sll-261-0008        Fax: Sll-261-0009      555E 5th unit
   Warren Kull                                   Produced wtth zlpForm® by zlplogb< 18070 Fifteen Mlle Road, Frase,, Michigan 48026 www zjploglx com




                                                                                         P-000009
                       Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 13 of 100
DocuSlgn Envelope ID: 7904F84E-59BD-40FD-B84D-EA43EC6088D9


                                             PROMULGATED BY THE TEXAS REAL ESTATE COMMISSION (TREC)                                                                        11-2-2015

                EQUAL HOlJ:51.NG
                 OP?OltlOl'-1-IT'f
                                                                                   AMENDMENT
                                                    TO CONTRACT CONCERNING THE PROPERTY AT

                                            555 E 5th St # 3001                                                                         Austin
                                                                                 (Street Address and City)

                Seller and Buyer amend the contract as follows: (check each applicable box)
                D   (1) The Sales Price in Paragraph 3 of the contract is:
                        A. Cash portion of Sales Price payable by Buyer at closing .................... $ - - - - - - - - -
                        8. Sum of financing described in the contract......................................... $ _ _ _ _ _ _ _ __
                        C. Sales Price (Sum of A and 8)............................................................. $ _ _ _ _ _ _ __
                D  (2) In addition to any repairs and treatments otherwise required by the contract, Seller, at Seller's
                        expense, shall complete the following repairs and treatments:




                [xl     (3) The date in Paragraph 9 of the contract is changed to                                            February 28                      , 2018
                □ (4) The amount in Paragraph 12A( 1)(b) of the contract is changed to $ _ _ _ _ _ _ _ __
                □ (5) The cost of lender required repairs and treatment, as itemized on the attached list, will be paid
                                 as follows:$ _ _ _ _ _ _ _ _ by Seller;$ _ _ _ _ _ _ _ _ by Buyer.
                □ (6) Buyer has paid Seller an additional Option Fee of$ _ _ _ _ _ _ _ for an extension of the
                                 unrestricted       right       to      terminate           the contract on   or    before  5:00 p.m. on
                                                                                             ____ . This additional Option Fee Owm Owill
                      not be credited to the Sales Price.
                [x]
                  (7) Buyer waives the unrestricted right to terminate the contract for which the Option Fee was paid.
                □ (8) The date for Buyer to give written notice to Seller that Buyer cannot obtain Buyer Approval as
                      set forth in the Third Party Financing Addendum is changed to _ _ _ _ _ _ _ _ __
                □ (9) Other Modifications: (Insert only factual statements and business details applicable to this sale.)




                EXECUTEDthe _ _ _ dayof _ _ _ _ _ _ _ _ __                                                                 _ _ _ . (BROKER: FILL IN THE
                DATE OF FINAL ACCEPTANCE.)



                                                                                                        Seller William D Mcguire



                Buyer                                                                                   Seller



                       This form has been approved by the Texas Real Estate Commission for use with similarly approved or promulga1ed contract
                       forms. Such approval relates to this form only. TREC forms are intended for use only by trained real esta1e license holders.
                       No representation Is made as lo the legal validity or adequacy of any provision in any specific transactions. It is not intended
                       for complex transactions. Texas Real Estate Commission, P.O. Box 12188, Austin, TX 78711-2188, 512-936-3000 (http://
                       www.trec.texas.gov) TREG No. 39-8. This form replaces TREC No. 39-7.


         (TAR-1903)                                                                                                                                               TREC NO. 39-8
   Kuper Sotheby, InU Realty- Goller!•, Jl420 GRllerla Circl,, Suite A-ms Au•6n TX ?8738                                    Phone: 51?-261-0008        Fa.: 512-261·0009       555 E 5th unit 3001
   Waf'tc:-n Kull                               Produced with zfpForm® by zipLogb.: 18070 Fttteen Mila Road, Fraser~ Michigan 48026 WWW ZiDLogix com




                                                                                       P-000010
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 14 of 100




                           P-000011
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 15 of 100

                  Exhibit 2




                           P-000121
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 16 of 100




                           P-000122
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 17 of 100




                           P-000123
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 18 of 100




                           P-000124
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 19 of 100




                           P-000125
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 20 of 100




                           P-000126
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 21 of 100
                                 Exhibit 3




                           P-000127
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 22 of 100




                           P-000128
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 23 of 100




                           P-000129
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 24 of 100




                           P-000130
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 25 of 100




                           P-000131
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 26 of 100




                           P-000132
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 27 of 100




                           P-000133
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 28 of 100




                           P-000134
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 29 of 100




                           P-000135
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 30 of 100




                           P-000136
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 31 of 100




                           P-000137
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 32 of 100




                           P-000138
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 33 of 100




                           P-000139
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 34 of 100




                           P-000140
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 35 of 100




                           P-000141
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 36 of 100




                           P-000142
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 37 of 100




                           P-000143
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 38 of 100




                           P-000144
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 39 of 100




                           P-000145
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 40 of 100




                           P-000146
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 41 of 100




                           P-000147
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 42 of 100




                           P-000148
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 43 of 100




                        Exhibit 4
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 44 of 100




                           P-000012
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 45 of 100




                           P-000013
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 46 of 100




                           P-000014
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 47 of 100




                           P-000015
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 48 of 100




                           P-000016
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 49 of 100




                           P-000017
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 50 of 100




                           P-000018
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 51 of 100




                           P-000019
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 52 of 100




                           P-000020
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 53 of 100




                           P-000021
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 54 of 100




                           P-000022
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 55 of 100




                           P-000023
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 56 of 100




                           P-000024
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 57 of 100




                           P-000025
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 58 of 100




                           P-000026
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 59 of 100




                           P-000027
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 60 of 100




                           P-000028
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 61 of 100




                           P-000029
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 62 of 100




                           P-000030
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 63 of 100




                           P-000031
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 64 of 100




                           P-000032
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 65 of 100




                           P-000033
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 66 of 100




                           P-000034
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 67 of 100




                           P-000035
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 68 of 100




                           P-000036
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 69 of 100




                           P-000037
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 70 of 100




                           P-000038
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 71 of 100




                           P-000039
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 72 of 100




                           P-000040
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 73 of 100




                           P-000041
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 74 of 100




                           P-000042
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 75 of 100




                           P-000043
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 76 of 100




                           P-000044
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 77 of 100




                           P-000045
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 78 of 100




                           P-000046
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 79 of 100




                           P-000047
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 80 of 100




                           P-000048
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 81 of 100




                           P-000049
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 82 of 100




                           P-000050
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 83 of 100




                           P-000051
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 84 of 100




                           P-000052
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 85 of 100




                           P-000053
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 86 of 100




                           P-000054
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 87 of 100




                           P-000055
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 88 of 100




                           P-000056
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 89 of 100




                           P-000057
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 90 of 100




                           P-000058
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 91 of 100




                           P-000059
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 92 of 100




                           P-000060
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 93 of 100




                           P-000061
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 94 of 100




                           P-000062
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 95 of 100




                           P-000063
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 96 of 100




                           P-000064
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 97 of 100




                           P-000065
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 98 of 100




                           P-000066
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 99 of 100




                           P-000067
Case 1:21-cv-00210-RP Document 7-1 Filed 10/28/21 Page 100 of 100




                           P-000068
